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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  INVENSAS CORPORATION                            §
                                                  §
  v.                                              §
                                                             Case No. 2:17-CV-0670-RWS-RSP
                                                  §
  SAMSUNG ELECTRONICS CO., LTD., ET               §
  AL.                                             §

                                     Motion Hearing
                            MAG. JUDGE ROY PAYNE PRESIDING
                                      June 13, 2018
  OPEN: 9:00 am                                         ADJOURN: 11:30 am

  ATTORNEYS FOR PLAINTIFF:                             Larry Gotts
                                                       Clement Naples
                                                       Andrea Fair

  ATTORNEY FOR DEFENDANTS:                             Brian Berliner
                                                       Darin Snyder
                                                       Gil Gillam

  LAW CLERK:                                           Clint South

  COURT REPORTER:                                      Tammy Goolsby

  COURTROOM DEPUTY:                                    Becky Andrews

  Court opened. Case called. Andrea Fair announced ready and introduced co-counsel. Gil
  Gillam announced ready and introduced co-counsel.

  Clement Naples informed the Court of certain agreements regarding Plaintiff’s Motion to Compel
  Discovery from Defendants (Dkt. No. 84). Brian Berliner responded. The motion was granted
  in part and deferred in part.

  A teleconference will be set on June 20, 2018 at 10:00 a.m. for the parties to inform the Court
  about the status of the stipulated representative product.

  Darin Snyder then argued Defendants’ Motion to Sever and Stay Proceedings for the ‘231 and
  ‘946 Patents (Dkt. No. 44). Larry Gotts responded for plaintiff. The Court took the motion
  under submission.
